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§AO 199A (Rev. 6!97) Order Setting Conditions of Relcase

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UNITED STATES DISTRICT CoURT

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United States of Arnerica

ORDER SETTlNG CONDITIONS
V. OF RELEASE

WMM-L }'<iOA.J//rv CaseNumber: I`, OS' lOOSQ "`T

Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:
(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

directed The defendant shall appear at (1f blank to be notified) U. 5 DM CQ’LU/{` l l l g [JW{/lh¢p

Place
due/.g,whm.'rl\/ 39301 en lo_/af!/o.§ u- g:q$ a._m

Date and Time

Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:
( ‘/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed

( )(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
dollars (S )

in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.

WESTERN DlSTRlCT OF TN
FILED lN OPEN COURT:

DATE: ’7_/__L____.-'l‘i 06
rlME: if /7 _______“-m-
mmALs: ~@v

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D[STR[BU'I`ION: COURT DEFENDANT PRETR|AL SERVICES U.S. ATTORNEY U.S. MARSHAL

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Additional Conditions of Release

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
communityl _
['i` lS FURTl-IER OR_DERED that the release ofthe defendant is subject to the conditions marked below:
( ) (6) The defendant is placed in the custody of:
(Narne of person or organization)
(Addrcss)

(City and state) ('l`el. No.)
who agrees (a) to supervise the defendant in accordance with all the conditions ofrelease, (h) to use every effort to assure the appearance ofthclefendant at all scheduled court
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or disappears.

 

 

 

Signed:

 

Custodian or Proxy Date

( ) (7) ']` c defendant shall: ~ _ _
(\/GL; reporttothe pf`¢""rrlé.l Se|"|/'("C OFFM;_¢_,
telephone number ‘Z 3 [' Hll~ q¢§l(ej _

( } (b) execute a bond or an agreement to forfeit upon railing to appear as required the following sum of money or designated property:

 

 

( )(c) post with the court the following indicia of ownership of the above-described property, or the following amount or percentage of the above-described

 

l (d) execute a bail bond with solvent sureties in the amount of$ .
)(e) maintain or actively seek employment.

){t) maintain or commence an education program.

) (g) surrender any passport to:
) (h) obtain no passport

) (i) abide by the following restrictions on personal association, place of abode, or trave]:

 

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[ ) (i) avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to'.

 

 

 

( ) (k) undergo medical or psychiatric treatment and/or remain in an institution as follows:

 

( }(l) return to custody each (week) day as of o’elock after being released.each (week) day as of o’clock for employment,
schooling, or the following limited purpose(s):

 

} (m) maintain residence at a halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising ofticer.
) (n) refrain from possessing a tirean'n, destructive deviee, or other dangerous weapons.

‘ “o) refrain from ( ) any ( ) excessive use ofalcohol.

`p refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 302, unless prescribed by a licensed medical

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practitioner.
{ ) submit to any method oftesting required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited

substance Such methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or
any form ofprohibited substance screening or testing.
participate in a program of inpatientor outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officer.
( ) (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) ofrelease.
( ) (t) participate in one of the following horne confinement program components and abide by all the requirements ofthe program which ( ) will or
( ) will not include electronic monitoring or other location verification system You shall pay all or part of the cost of the program based upon your ability
to pay as determined by the premal services office or supervising officer.
( ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( ) as directed by the pretrial
services office or supervising officer; or
( ) {ii) Home l)etention. You are restricted to your residence at all times except for employment; cducation; religious services; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising ofticer; or
( ) (iii) Home lncarceration. You are restricted to your residence at all times except for medical needs or treatment, religious serviccs, and court
appearances pre-approved by the pretrial services office or supervising officer.
( ){u) report as soon as possible, to the pretrial services oftiee or supervising officer any contact with any law enforcement personnel, including, but not limited
to, any arrest, questioning, or traffic stop,

 

 

 

 

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'DISTRIBUTION: COURT DEFENDANT PRETR_IAL SERVICES U.S. A'I`TORNEY U.S. MARSHAL

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“\§AO 199C (Rev.12/03) Advi e of Penalties. . . Pages

Advice of Pcnalties and Sanctions

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.

The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor
This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation or intimidation are significantly more serious if
they involve a killing or attempted killingl

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. lf you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five ycars, or both;

(3) any other felony, you shall be fined not more than 3250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $1{)0,00() or imprisoned not more than one year, or both.

A tenn of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of Defendant

l acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed I am aware of the penalties and sanctions set forth

above . 7
/d-WMU; dade/bed

Signature of Defendant

ij § tip/ejch 71 jl/

Address

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)c@/wa~r /~r»tw ?aa/ ¢// 3» are
City and State Telephone /

Directions to United States Marshal

( !’{The defendant is ORDERED released after processingl
The United States marshal is ORDERED to keep the defendant in custody until notified by the elerkor judge that the defendant

has posted bond andi'or complied with all other conditions for rclease. The defendant shall be produced before the appropriate
judge at the time and place specified, if still in custody.

Daie: 26 %;Mg/i/l M( 5 ' (QV`M
d Signature of deicial Of`ficer
f/ bmi /L_

N'ame'and Title of Judic` Officerd

 

 

DlSTRlBUTlON: COURT DEFENDANT PRETRIAL SERVICE U.S. ATTORNEY U.S. MARSHAL

rsTRIC COURT - WESTERN D"T'CT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CR-10058 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

Jackson7 TN 38301

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

